                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                         Case No.: 1:23-cv-00423-WO-JLW


 CHAPLIN, et al.                                  )
                                                  )      JUDICIAL DEFENDANTS’
   Plaintiffs,                                    )     MEMORANDUM OF LAW IN
                                                  )        SUPPORT OF THEIR
        v.                                        )        MOTION TO DISMISS
                                                  )
 ROWE, et al.                                     )
                                                  )
  Defendants.
___________________________________________________________________________

      Defendants Ryan Boyce, Brad Fowler, Blair Williams, Susie K. Thomas, and

Elisa Chinn-Gary (collectively, “Judicial Defendants”), hereby submit this

Memorandum of Law in Support of their Motion to Dismiss all claims against them.

                           STATEMENT OF THE CASE

      On February 28, 2024, Plaintiffs filed their Second Amended Complaint

(hereinafter “Complaint”). [DE 77] In Claim Six, Plaintiffs assert a state law false

imprisonment claim against the Clerk Defendants (Defendants Chinn-Gary, Williams,

and Thomas) in their individual capacity, on behalf of themselves and the proposed

Overdetention class. Plaintiffs Fields, Nunez, and Hayward bring the claim against

Clerk Chinn-Gary on behalf of themselves and the proposed Overdetention Class.

Plaintiffs Spruill, Chaplain, McNeil, Robertson, Jallal, Bradley, and Lassiter, bring the

claim against Clerk Williams on behalf of themselves and the proposed Wrongful

Arrest Class. Plaintiff Castellanos brings the claim against Clerk Thomas on behalf of

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himself and the proposed Overdetention Class. In Claim Seven, all named Plaintiffs

assert an official capacity 42 U.S.C. § 1983 claim for injunctive relief against Director

Boyce, Mr. Fowler, the Clerk Defendants, and the Sheriff Defendants on behalf of

themselves and the proposed Injunctive Relief Class. [DE 77 at ¶ 335]

                              STATEMENT OF FACTS1

      Historically, North Carolina courts depended on paper filing, which provided

many opportunities for error and inefficiency. [DE 77, ¶ 54] In 2016, the North

Carolina Commission on the Administration of Law and Justice recommend an

integrated case management system (“ICMS”)—a single-source, digital application

used to manage all aspects of court administration. [DE 77, ¶¶ 56-60] The North

Carolina Administrative Office of the Courts (“NCAOC”) partnered with the National

Center for State Courts to develop a Request for Proposal to identify and engage a

vendor to effectuate this shift. [DE 77, ¶¶ 60-65] A selection committee comprised of

stakeholders throughout the Judicial Branch ultimately recommended NCAOC

engage Defendant Tyler to implement the ICMS. [DE 77, ¶ 68]

      On June 7, 2019, NCAOC and Defendant Tyler entered a contract wherein

Defendant Tyler would license its ICMS software (Odyssey) and develop and license

an online, statewide repository of warrants (eWarrants) (collectively “eCourts”). [DE

77, ¶¶ 70-72; DE 77-3, pp. 3-4] Prior to eWarrants’ July 2022 launch, “NCAOC

conducted over 170 pre-implementation training sessions with magistrates and clerks


1
 Judicial Defendants do not hereby admit the truth of any allegations of the Complaint, but
present them here as true as required under the motion to dismiss standard.
                                            2



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and over 60 law enforcement train-the-trainer training sessions.” [DE 77, ¶ 74; 77-3,

p. 3]

        Odyssey launched in Wake, Lee, Harnett, and Johnston counties on February

13, 2023, and in Mecklenburg County on October 9, 2023. [DE 77, ¶¶ 75; DE 77-3, p.

3] The Odyssey ICMS “is designed to replace NCAOC’s legacy criminal, civil, and

juvenile mainframe hosted indexes, the agency’s financial management system, and

the court system’s paper-based filing and records management processes.” [DE 77-3,

p. 4] To prepare for Odyssey, NCAOC conducted “over 50 mock court walkthroughs

in local courthouses,” and “90 multi-day training sessions in the four pilot counties

and Mecklenburg County.” [DE 77-3, p. 4] NCAOC “provided dedicated on-staff

support in each county to assist with questions and to report any software defects or

procedural issues.” [Id.]

         The thirteen Plaintiffs allege they experienced arrest or detention issues across

six counties. [DE 77, ¶¶ 101-228] The following information is based on the facts

alleged in the Complaint, supplemented by official court records.2 [See Exhibit 1

through Exhibit 9] This Court may take judicial notice of state court records on a

motion to dismiss without converting the motion into one for summary judgment

because they are court records and are referenced in and integral to the Complaint.

See, e.g., Philips v. Pitt Cnty. Mem'l Hosp., 572 F.3d 176, 180 (4th Cir. 2009) (“In

reviewing Rule 12(b)(6) dismissal, we may properly take judicial notice of matters of


2
 These state court records are also available on the North Carolina Judicial Branch eCourt
Portal, at: https://portal-nc.tylertech.cloud/Portal/.
                                             3



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public record”); Hall v. Virginia, 385 F.3d 421, 424 n.3 (4th Cir. 2004) (permitting

judicial notice of more specific statistics found in the public record than those generally

alleged in the complaint on a Rule 12(b)(6) motion); Phillips v. LCI Int'l, Inc., 190 F.3d

609, 618 (4th Cir. 1999) (permitting consideration of extraneous material when

materials are “integral to and explicitly relied on in the complaint”); Colonial Penn Ins.

Co. v. Coil, 887 F.2d 1236, 1239–40 (4th Cir. 1989) (confirming the propriety of

judicially noticing court records); Blue Tree Hotels Inv. (Canada), Ltd. v. Starwood Hotels

& Resorts Worldwide, Inc., 369 F.3d 212, 217 (2d Cir. 2004) (Courts “may also look to

public records, including complaints filed in state court, in deciding a motion to

dismiss”); Gasner v. Cnty. of Dinwiddie, 162 F.R.D. 280, 282 (E.D. Va. 1995) (permitting

court to take judicial notice of public documents, such as court records, even when the

documents are neither referenced by nor integral to plaintiff’s complaint).

          1. Sarah Fields

       Ms. Fields was arrested on October 7, 2023, and held without bond. [Ex. 1-D]

On October 9, 2023, a magistrate issued a release order holding Ms. Fields on a

secured bond at the Mecklenburg County Detention Center (“MCDC”). [DE 77, at ¶¶

101-102; Ex.1-F] A district court judge later modified Ms. Fields’ conditions of release

to an unsecured bond. [Ex. 2-F] Ms. Fields alleges that she was held at the MCDC

until October 10 at approximately 1:30 PM. [DE 77, at ¶ 106]. Ms. Fields alleges that

an integration issue between Odyssey and eWarrants caused her overdetention. [DE

77, at ¶ 108]



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      The Mecklenburg County Chief District Court Judge explained the integration

issue in an October 17, 2023, email. [DE 77, at ¶ 91; DE 77-4] During this period, the

modified conditions of release entered into eWarrants “[i]n some cases” did not

automatically migrate to the Odyssey [] System, resulting “in situations … in which

Odyssey [] and Portal do not reflect the updated conditions of release.” [DE 77-4 at 1]

The information in Odyssey [] must be updated to process the appearance bond and

release. [Id.] To mitigate this issue, clerks received daily integration reports and

processed manual updates. Further, Judge Trosch directed magistrates under her

supervision, [see N.C.G.S. 7A-146], who were effectuating the release of a defendant

to check both systems and, where necessary, update the Odyssey system to process the

release. [DE 77-4 at 2] Defendant McFadden was informed of the issue and the work-

around processes to ensure that criminal defendants would be released. [Id.]

      Ms. Fields’ case did not experience an integration issue. The modified release

order was created in eWarrants on October 9 at 4:37 PM, [Exs. 1-A, 1-J], and the order

was available in the Odyssey Case Manager system October 9 at 4:39 PM. [Ex. 1-A

(Case Events, Release Order Modified, Created Date)]

          2. Sayeline Nunez

      Ms. Nunez was arrested on October 9, 2023, given a secured bond at her initial

appearance, and held at the MCDC. [DE 77, at ¶¶ 109-110; Ex. 2-C] A district court

judge later modified Ms. Nunez’ conditions of release to an unsecured bond. [Ex. 2-

D] Ms. Nunez was returned to a holding cell at the MCDC and not released until the

next day, October 11, at 1:30 PM. [DE 77, at ¶¶ 113-14] On December 4, Ms. Nunez
                                          5



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pled guilty and received a sentence of one day in jail, with credit for time served for

the day she spent in the MCDC in October. [Ex. 2-G at 2]

      Ms. Nunez alleges that an integration issue between Odyssey and eWarrants

caused her overdetention. [DE 77, at ¶ 116] Her case did not experience an integration

issue. The modified release order was created and signed in eWarrants on October 10

at 12:26 PM, [Exs. 2-A, 2-I] and available in the Odyssey system October 10 at 12:27

PM. [Ex. 2-A (Case Events, Release Order Modified, Created Date)]

          3. Thomas Hayward

      On December 2, 2023, Mr. Hayward was arrested and held without bond. [Ex.

3-C] On December 4, a magistrate issued a release order holding Mr. Hayward on a

secured bond at the MCDC. [DE 77, at ¶¶ 117-119; Ex. 3-D] A district court judge

later modified Mr. Haywards’ conditions of release to an unsecured bond. [Ex. 3-F]

Mr. Hayward alleges that he posted bond at 1:00 PM on December 4, but was held at

the MCDC until December 5 at approximately 3:41 AM. [DE 77, at ¶¶ 121-124]

      Mr. Hayward alleges that an integration issue between Odyssey and eWarrants

caused his overdetention. [DE 77, at ¶ 125] His case did not experience an integration

issue. The modified release order with the unsecured bond conditions of release was

created and signed in eWarrants on December 4 at 10:13 AM, [Ex 3-H], and available

in the Odyssey system on December 4 at 10:16 AM. [Ex. 3-A (Case Events, Release

Order Modified, Created date)] A magistrate processed Mr. Haywards’ appearance

bond on December 4 at 1:05 PM. [Ex. 3-A (Case Events, Bond, Created Date), Ex. 3-

G]
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          4. Paulino Castellanos

      On Friday, February 10, 2023, Mr. Castellanos was arrested in Lee County for

various sex offenses against children and given a bond that he could not afford. [DE

77, ¶ 203; Exs. 4A, 5A] Mr. Castellanos was brought before the magistrate to set

conditions of release at approximately 11:05 AM that day. [Exs. 4-C at 7, 5-B at 7] Mr.

Castellanos’ attorney endeavored to have a judge review his pretrial release conditions

set by the magistrate that same day, but his file allegedly could not be located. [DE 77,

¶ 204] The following Monday, February 13, 2023, the day eCourts went live in Lee

County, a Grand Jury indicted Mr. Castellanos and bound him over to Superior Court.

[DE 77, ¶¶ 207-208] On Wednesday, the Superior Court modified his bond and

ordered his conditions of release to include electronic monitoring. [Exs. 4-F, 5-F] Mr.

Castellanos did not meet his modified conditions of release until February 23, 2023.

[Ex. 4-H, 5-H] Mr. Castellanos initially alleged the court-ordered electronic

monitoring was unavailable until this time. [DE 1, ¶ 85]

      Mr. Castellanos alleges that he was unable to move for a bond reduction earlier

because he didn’t have his case number and that a new case number was issued once

he was indicted which allowed him to move for a bond reduction. The Court records

reflect that Mr. Castellanos case number was set as 23CR230013-250 when he was

arrested on Friday, February 10, 2023, and remained the same throughout his case.

[Compare Exs. 4-C, 5-B to Exs. 4-F, 5-E]




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          5. Kevin Spruill

       Mr. Spruill was arrested on a Wake County warrant on February 11, 2023 in

Durham County, a non-eCourts county, where he also had his initial appearance and

posted bond. [[DE 77, ¶ 126, Ex. 6-D at 5, 12] Mr. Spruill was subsequently twice

briefly detained on the original warrant. [DE 77, ¶¶ 127-137]

          6. Timia Chaplin

       Ms. Chaplin failed to appear (“FTA”) in Wake County district court on

December 13, 2022, and the court issued an order for arrest (“OFA”). [DE 77, ¶ 139-

140] On March 4, 2023, she was arrested for her FTA and released on a bond. [DE

77, ¶ 141] On March 16, her charges were dismissed, which was accurately reflected

in Odyssey. [DE 77, ¶ 142] On April 9, Ms. Chaplin alleges she was arrested on the

December 13, 2022, OFA. [DE 77, ¶ 144] Ms. Chaplin alleges that her rearrest was

because “Odyssey did not communicate that [case] resolution to eWarrants, in

contravention of the software’s intended design.” [DE 77, ¶ 144] Ms. Chaplin’s Wake

County criminal case no longer exists. [Ex. 7, ¶¶ 3-4]

          7. Rotesha McNeil

       Ms. McNeil was cited for driving with a suspended license in July of 2021. [DE

77, ¶ 147] On August 11, 2022, a Wake County arrest warrant3 was issued for Ms.


3
  Plaintiffs use the terms “order for arrest” and “warrant for arrest” interchangeably
throughout the Complaint. They are different. An OFA may be issued when a defendant fails
to appear in court, N.C.G.S. § 15A-305(b)(2). A warrant for arrest issues upon a finding of
probable cause to believe the named person has committed a criminal offense. N.C.G.S.
§15A-304. Judicial officials, including clerks, are authorized to issue both. N.C.G.S. §§ 15A-
305(a) -304(f)(5).
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McNeil’s for failure to appear. Ms. McNeil alleges she appeared in court and pled

guilty on September 12, 2022. Ms. McNeil notes that Odyssey reflects that her case

was disposed that date. [DE 77, ¶ 151] On May 29, 2023, Ms. McNeill alleges she was

arrested on the August 11 OFA, and detained for approximately five hours until she

was released on a $1,000 bond. [DE 77, ¶¶ 152-155] Ms. McNeil alleges that the clerk

apologized for failing to recall the outstanding process from the eWarrants system.

[DE 77, ¶ 157]

           8. Qiana Robertson

      Ms. Robertson alleges she was not notified that her Wake County district court

date for Driving While Impaired was “Reset by Court.” [DE 77, ¶¶ 164-65] As a result,

Ms. Robertson did not appear and an OFA issued. [DE 77, ¶¶ 166-167] On June 11,

2023, Ms. Robertson was arrested on the OFA and posted a $2,000 bond. [DE 77, ¶¶

167-168]

           9. Yousef Jallal

      Mr. Jallal alleges that his citation for misdemeanor marijuana possession was

dismissed on June 6, 2023. [DE 77, ¶ 171] The docket reflects that Mr. Jallal was called

and failed in Wake County district court on June 6 and an OFA was issued on July 3.

[Exs. 8-A ( Case Events,), 8-C] Mr. Jallal was arrested on August 10, and detained for

approximately six hours until he was released on a $1,000 bond. [DE 77, ¶¶ 173-177]

Mr. Jallal’s case was dismissed on August 11, 2023, after the district attorney’s office

informed the clerk that the case was dismissed without leave. [Ex. 8-A (see

Dispositions)]
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          10. Messiejah Bradley

       In August 2022, Mr. Bradley was arrested for possession of marijuana in Wake

County. [DE 77, ¶ 178] On July 20, 2023, Mr. Bradley’s charges were dismissed. [DE

77, ¶ 179] Mr. Bradley alleges that Odyssey “incorrectly marked his case on July 20,

2023 as called and failed,” [DE 77, ¶ 181] that he was arrested on December 27, 2023

on an FTA “warrant” and held for five hours prior to posting a $1000 bond. [DE 77,

¶¶ 182-184] On September 28, 2023, Odyssey indicated his case was dismissed on July

20, 2023. [DE 77, ¶ 185] Mr. Bradley’s Wake County criminal case no longer exists.

[Ex. 7, ¶¶ 5-6]

          11. Dennis Keith Lassiter

       On March 30, 2023, Mr. Lassiter was arrested for felony possession of cocaine

and misdemeanor possession of drug paraphernalia in Wake County. [DE 77, at ¶ 186;

Ex.9-A] Mr. Lassiter failed to appear for court on March 31 and May 23, OFAs issued,

and he later had those OFAs recalled. [Ex. 9-A (see Case Events)] He was scheduled

for court on July 7, 2023, and alleges that he went to court, was present for roll call,

and that an Assistant District Attorney told him that he would be given his next court

date at a later time. [DE 77, at ¶ 186] On July 7, the court ordered him called and

failed and an OFA was issued on August 17, 2023. [Ex.9-A (Case Events); Ex. 9-B]

       On October 19, 2023, Mr. Lassiter was arrested on the OFA. [DE 77, at ¶ 194]

The Wake County magistrate reviewing his conditions of release identified an

unserved Johnston County warrant in Odyssey. [DE 77, at ¶ 196; Ex.10, pp. 5-6]] The

magistrate issued a “Service without Process” document on which the Wake County
                                          10



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Sheriff’s officer arrested Mr. Lassiter.     [Ex. 10, pp. 6-12] The document noted

“Criminal process confirmed via Electronic Warrants and/or Odyssey, a printout of

which is attached,” though no criminal process was attached and instead attached was

a printout from the Odyssey system noting that an arrest warrant had been issued in

2001 and that the case had been transferred to Harnett County. [Id.]

            12. Robert Lewis

         In 2016, Mr. Lewis’ client, who lived in Guilford County, took out a restraining

order against him, but he alleges it was dissolved. [DE 77, ¶ 214] In 2022, police were

called out to investigate after Mr. Lewis and his neighbor got into an altercation. [DE

77, ¶ 215] The responding officer saw the restraining order in eWarrants and arrested

him. [DE 77, ¶ 216] Mr. Lewis was held in custody for two days before posting bond.

[DE 77, ¶ 217] The District Attorney eventually dismissed Mr. Lewis’ case. [DE 77, ¶

219].

            13. Allen Sifford

         In 2009, an arrest warrant was issued for Mr. Sifford in Gaston County but

never served. [DE 77, ¶¶ 220-21] In 2022, Mr. Sifford’s application for a commercial

driver license was denied due to his outstanding warrant. [DE 77, ¶ 222] On October

25, 2022, Mr. Sifford alleges his case was dismissed. [DE 77, ¶ 224] On July 7, 2023,

Mr. Sifford was pulled over for committing a traffic offense, arrested on the 2009

warrant that appeared valid in eWarrants, and held for more than 48 hours in the

Gaston County jail. Mr. Sifford’s case is now expunged. [DE 77, ¶¶ 226-27]



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                                  LEGAL STANDARD

       The court must address subject matter jurisdiction as a threshold question before

it considers the merits of the case. Jones v. Am. Postal Workers Union, 192 F.3d 417, 422

(4th Cir. 1999). Federal courts have limited jurisdiction, possessing “only that power

authorized by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am., 511

U.S. 375, 377 (1994). A court must grant a motion to dismiss for lack of subject matter

jurisdiction if the court lacks authority to decide the dispute. Fed. R. Civ. P. 12(b)(1).

The plaintiff bears the burden of proving subject matter jurisdiction on a motion to

dismiss. Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982).

       A claim must be dismissed if it fails to “state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). In reviewing a Rule 12(b)(6) motion to dismiss, the

Court must accept as true all factual allegations in the complaint and draw all

reasonable inferences in the light most favorable to the plaintiff. See Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555–56 (2007). “Factual allegations must be enough to raise a

right to relief above the speculative level,” however, the complaint must have “enough

facts to state a claim to relief that is plausible on its face.” Id. at 570. “[T]he tenet that

a court must accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions,” and “[t]hreadbare recitals of the elements of a cause

of action, supported by mere conclusory statements” are insufficient. Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555). A complaint may survive

a motion to dismiss only if it “states a plausible claim for relief” that “permit[s] the



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court to infer more than the mere possibility of misconduct” based upon “its judicial

experience and common sense.” Id. at 679 (citations omitted).

                               LAW AND ARGUMENT

       The adage “third time’s a charm” does not apply here. Plaintiffs’ third

complaint continues to exhibit fundamental factual gaps and deficiencies (often

subverted by publicly available court records), basic legal errors about the legal duties

of clerks of superior court, and incoherent, contradictory, and formulaic legal theories

that are inconsistent with both basic concepts of federal jurisdiction and efforts to

brings these claims as a class action.

       More specifically, Plaintiffs’ false imprisonment claims against the Clerk

Defendants are barred by both quasi-judicial and public official immunity, as the

conduct at issue is integrally related to both their public office and the judicial process,

and Plaintiffs have failed to allege corruption or malice. These claims also are

contradicted by court records and a simple lack of factual allegations necessary for

their associated legal claims. Second, Plaintiffs’ claim for injunctive relief against the

Judicial Defendants is barred by the Eleventh Amendment, as Monell liability does not

extend to state entities and Plaintiffs fail to identify either a recognized constitutional

deprivation or take issue with (or even identify) any specific policy or practice of the

Judicial Defendants. Finally, Plaintiffs’ complaint invites this Court to defy both

Burford and O’Shea abstention principles by inserting itself into a complex state

administrative process and effectively creating an ongoing federal audit of state court

proceedings.
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       As such, the Judicial Defendants respectfully request that this Court dismiss all

claims against them.

 I.    PLAINTIFFS’ FALSE IMPRISONMENT CLAIM IS BARRED BY
       QUASI-JUDICIAL IMMUNITY AND PUBLIC OFFICIAL IMMUNITY,
       AND FAILS TO STATE A CLAIM

          A. Quasi-judicial immunity bars Plaintiffs’ claims.

       Quasi-judicial immunity is accorded to individuals who play an integral part in

the judicial process. See Briscoe v. LaHue, 460 U.S. 325, 335 (1983). This immunity

extends to claims involving “tasks so integral or intertwined with the judicial process

that these persons are considered an arm of the judicial officer who is immune.” Jarvis

v. Chasanow, 448 F. App’x 406 (4th Cir. 2011) (internal citations omitted). Clerks of

court assist in carrying out judicial functions and, therefore, enjoy derivative absolute

judicial immunity. See Hamilton v. Murray, 648 F. App’x 344, 345 (4th Cir. 2016); Ross

v. Baron, 493 F. App’x 405, 406 (4th Cir. 2012); Jackson v. Houck, 181 F. App’x 372,

373 (4th Cir. 2006).

       Clerk Williams is entitled to quasi-judicial immunity for the false imprisonment

claims brought against him. Plaintiffs Chaplin, McNeill, and Spruill allege that they

were falsely imprisoned when they were arrested after the Odyssey system failed to

recall orders for arrest or mark warrants as not active in eWarrants. [DE 77, ¶¶ 126-

159] Plaintiff Robertson alleges that she was falsely imprisoned when her court date

was “Reset by Court” in Odyssey but she was not given notice of the rescheduled date,

missed court, and was arrested on the OFA. [DE 77, ¶¶ 160-169] Plaintiffs Bradley,

Jallal, and Lassiter allege that they were falsely imprisoned when they were incorrectly
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marked as called and failed on a scheduled court date and were arrested on the

resulting orders for arrest. [DE 77, ¶¶ 170-195].

      Even if Clerk Williams were responsible for these alleged failures, he is entitled

to quasi-judicial immunity. Signing orders for arrest, noting a defendant’s appearance

or non-appearance, scheduling and noticing hearings, and documenting the court

record are all tasks integral to the judicial process and thus entitled to quasi-judicial

immunity. See, e.g., Bryan v. Stewart, 123 N.C. 92, 98 (1898) (finding clerk acts in their

judicial capacity when they issue processes for arrest); Freeman v. Scotland Cnty., No.

1:22CV653, 2022 WL 21827483 (M.D.N.C. Dec. 30, 2022), report and recommendation

adopted, No. 1:22CV653, 2023 WL 8604259 (M.D.N.C. Mar. 15, 2023) (quasi-judicial

immunity bars claim where clerk of court incorrectly put D.O.C. on commitment

papers instead of county jail); Johnson v. Turner, 125 F.3d 324, 332 (6th Cir. 1997)

(finding clerk’s office employees, acting as a judge’s designee, are entitled to quasi-

judicial immunity); Rankin v. Sykes, No. 1:18CV353, 2019 WL 203184 (M.D.N.C. Jan.

15, 2019) (dismissing claims as frivolous because clerks are entitled to quasi-judicial

immunity for signing orders for arrest for FTA and for failing to note the plaintiff’s

appearance on the docket resulting in a warrant for arrest for FTA); Arroyo v. Zamora,

No. 3:17-CV-721-FDW-DCK, 2018 WL 1413195 (W.D.N.C. Mar. 21, 2018) (clerks

entitled to quasi-judicial immunity for acts involving scheduling hearings, providing

notice of hearings, and handling notices of appeal); Brown v. Knox, 788 F. App’x 194

(4th Cir. 2019) (finding a clerk’s alleged failure to acknowledge an appeal is not

ministerial, but rather an act entitled to quasi-judicial immunity.)
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       Clerk Thomas is also entitled to quasi-judicial immunity. Mr. Castellanos

alleges that he was falsely imprisoned because Clerk Thomas lost his court file and his

attorney was unable to file a bond reduction motion resulting in his overdetention.

[DE 77, ¶¶ 202-212] Even if these allegations are true, Clerk Thomas is entitled to

quasi-judicial immunity because filing documents is a task integral to the judicial

process. See Washington v. Savis, No. CV22203580BHHMHC, 2023 WL 3766242

(D.S.C. May 12, 2023), report and recommendation adopted, No. 2:22-CV-3580-BHH,

2023 WL 3752186 (D.S.C. June 1, 2023) (finding clerk entitled to quasi-judicial

immunity for failing to file documents).

       Clerk Chinn-Gary is also entitled to quasi-judicial immunity. Plaintiffs Fields,

Nunez, and Hayward allege that they were falsely imprisoned because Clerk Chinn-

Gary did not ensure that their release orders were available in the system such that

their release could be effectuated. [DE 77, ¶¶ 101-125, 309, 312, 318, 320] Even if these

allegations are true, clerks are entitled to quasi-judicial immunity for failing to properly

deliver court orders, including orders related to detention. See Wiley v. Buncombe Cnty.,

846 F. Supp. 2d 480, 485 (W.D.N.C.), aff'd, 474 F. App’x 285 (4th Cir. 2012) (quasi-

judicial immunity applied to clerk who failed to properly deliver judge’s writ of habeas

corpus); Fullard v. Horne, No. 5:17-CT-3159-FL, 2018 WL 3302732 (E.D.N.C. July 5,

2018), aff'd, 747 F. App’x 162 (4th Cir. 2019) (finding that a clerk transmitting a court

order is entitled to derivative judicial immunity).

       The Court should dismiss Plaintiffs’ false imprisonment claims against each

Clerk Defendant as barred by quasi-judicial immunity.
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          B. Public official immunity bars Plaintiffs’ claims.

       Public official immunity shields public officials from individual liability for acts

connected to their service as public officials. This immunity “derives from the state’s

sovereign immunity,” as “the public official’s employment or authority flows from the

State or a State agency.” See Epps v. Duke Univ., Inc., 122 N.C. App. 198, 203 (1996).

A public official may not be held liable unless it is alleged and proved that his act, or

failure to act, was corrupt or malicious, or that he acted outside of and beyond the

scope of his duties. Meyer v. Walls, 347 N.C. 97, 112 (1997). Conclusory allegations

that a public official’s action, or failure to act, is corrupt, malicious or outside the scope

of his duties is not sufficient, rather, the facts alleged in the complaint must support

such a conclusion. Doe v. Wake Cnty., 264 N.C. App. 692, 696 (2019). The Clerk

Defendants are entitled to public official immunity on the false imprisonment claims

brought against them.

       First, Plaintiffs fail to allege any facts that support finding the Clerk Defendants’

actions or failure to act were corrupt or done with malice. Further, all the allegations

relate to activities that are in the scope of the Clerk Defendants’ duties. A clerk of

superior court is a North Carolina constitutional officer. N.C. Const. art. IV, § 9(3),

N.C. Gen. Stat. § 7A-100(a). The North Carolina General Assembly prescribes the

jurisdiction and powers of the clerk. N.C. Const. art. IV, § 12(3). These include the

authority to issue orders for arrest, N.C. Gen. Stat. § 15A-305, and the duty to

accurately record legal proceedings in accordance with of recordkeeping rules

promulgated by the NCAOC Director. N.C. Gen. Stat. §§ 7A-109, 7A-180(3).
                                             17



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      Plaintiffs allege that they were falsely imprisoned because the Clerk Defendants

incorrectly issued orders for arrest, and/or kept inaccurate court records. [DE 77, ¶¶

101-212]. Plaintiffs’ conclusory allegations that the Clerk Defendants acted “outside

the scope of their authority,” [DE 6 ¶ 322], is contrary to North Carolina’s constitution

and statutes. Further, Plaintiffs’ Seventh Claim, seeking an injunction directing the

Clerk Defendants adopt failsafe procedures to prevent future liberty deprivations,

necessarily concedes that the Clerk Defendants’ alleged actions or omissions fall

within their duties. Accordingly, this Court should dismiss the false imprisonment

claims against Clerk Defendants as barred by public official immunity because there

are no allegations to support finding that they acted, or failed to act, corruptly or

maliciously, or that they acted outside of and beyond the scope of their duties.

          C. Plaintiffs fail to state a false imprisonment claim against any of the
             Clerk Defendants.

      Plaintiffs appear to bring Claim Six – “False Imprisonment Against Clerk

Defendants, Individually” – pursuant to North Carolina tort law. In North Carolina,

false imprisonment is “the illegal restraint of a person against his will.” Marlowe v.

Piner, 119 N.C. App. 125, 129 (1995). The North Carolina Pattern Jury Instructions

provide that a plaintiff must prove that the defendant both intentionally and unlawfully

detained the plaintiff against his will. See False Imprisonment, NC Pattern Jury Inst. -

Civ. 802.00. [Ex 10] Illegality is an essential element of false imprisonment. See Pearson

v. Newcomb, 60 F.3d 824 (4th Cir. 1995). “Illegal or unlawful necessarily implies

deliberateness in a defendants’ actions.” Emory v. Pendergraph, 154 N.C. App. 181, 185


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(2002). Intent requires the defendant desire to cause the consequences of his action or

believes the consequences are substantially certain to occur. See Definition of [Intent]

[Intentionally], NC Pattern Jury Inst. - Civ. 101.46. [Ex. 11] Evidence of negligence

or recklessness does not satisfy the intent required for a false imprisonment claim. See

e.g., Frazier v. Murray, 135 N.C. App. 43, 48 (1999) (finding that false imprisonment is

an intentional act which is legally distinguishable from a negligent act); Silver v. Sears,

Roebuck & Co., No. 5:98CV984-BO(3), 2000 WL 33682675 (E.D.N.C. July 31, 2000)

(rejecting false imprisonment claim because negligent or even reckless conduct fails to

raise the inference the defendant intentionally caused plaintiff’s detention).

       “An employer may be held liable for the torts of an employee under the doctrine

of respondeat superior only in circumstances where: (1) the employer expressly

authorizes the employee’s tortious act; (2) the tort is committed by the employee in the

scope of employment and in furtherance of the employer’s business; or (3) the

employer ratifies the employee’s tortious conduct.” Denning-Boyles v. WCES, Inc., 123

N.C. App. 409, 414 (1996) (citation omitted). If there is no tort, there is no respondeat

superior liability.

                      1.    Mecklenburg County Plaintiffs

       Plaintiffs Fields, Nunez, and Hayward (Mecklenburg Plaintiffs) bring their false

imprisonment claim against Clerk Chinn-Gary, individually and on behalf of the

Overdetention class. [DE 77, ¶ 309] Plaintiffs define this class as individuals who were




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released from jail more than two hours4 after the basis for their detention ended, “due

to Defendants’ adoption, implementation and design of eCourts.” [DE 77, ¶ 229]

       The Mecklenburg Plaintiffs allege Clerk Chinn-Gary “failed to maintain

accurate electronic databases . . . and ensure that release orders were properly

effectuated” causing them to be falsely imprisoned. [DE 77, ¶¶ 309, 312, 318, 320]

They allege their overdetention was “caused by Defendants’ adoption and

implementation of eCourts, including an integration defect between Odyssey and

eWarrants.” [DE 77, ¶¶ 108, 116, 125]

       These allegations as supplemented by the official court records do not allege a

false imprisonment claim against Clerk Chinn-Gary. The Mecklenburg Plaintiffs point

to no specific conduct by Clerk Chinn-Gary, or any employee of her office, and make

the unwarranted conclusion and deduction of fact that the MCDC did not release them

because of an integration issue noted in an email that only occurred in “some cases.”

[DE 77-4] The public court records attached hereto, however, demonstrate that neither

an employee of the Clerk’s office, nor an integration issue between Odyssey and

eWarrants, caused the MCDC to overdetain the Mecklenburg Plaintiffs.

       Additionally, and contrary to Plaintiffs’ allegation, clerks of court are not

responsible for “ensuring that release orders are properly effectuated.” N.C.G.S. §

15A-537 provides:


4
  The Seventh Circuit rejected a two-hour timeframe for defining an overdetention class
because “reasonableness of detention is a standard rather than a rule and because one
detainee’s circumstances differ from another’s, common questions do not predominate and
class certification is inappropriate.” Portis v. City of Chicago, Ill., 613 F.3d 702 (7th Cir. 2010).
                                                 20



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      Following any authorization of release of any person in accordance with
      the provisions of this Article, any judicial official must effect the release
      of that person upon satisfying himself that the conditions of release have
      been met. In the absence of a judicial official, any law‑enforcement
      officer or custodial official having the person in custody must effect the
      release upon satisfying himself that the conditions of release have been
      met, but law‑enforcement and custodial agencies may administratively
      direct which officers or officials are authorized to effect release under this
      section. … [N]o judicial official, officer, or custodial official may be held
      civilly liable for actions taken in good faith under this section.

N.C. Gen. Stat. § 15A-537.

      In Mecklenburg County, the clerks are not present at MCDC—as such, that

duty falls to the magistrate on duty and the custodial officials. [DE 77-4] Once the

magistrate, or custodial official, is satisfied that the conditions of bond have been met,

only then may a detainee be released. Importantly, this statute provides no judicial

official may be held civilly liable for any actions taken in good faith under this section.

      In sum, the Mecklenburg Plaintiffs’ claims of false imprisonment are merely

naked assertions of wrongdoing without any factual or legal support, expressly

contradicted by the public court files. This is insufficient to allege a claim for relief.

Iqbal, 556 U.S. 678-69. There is no allegation to support that a tort was committed by

any employee of Clerk Chinn-Gary, and no facts to support Clerk Chinn-Gary’s

respondeat superior liability for any tortious act of an employee. This Court should

dismiss the Mecklenburg Plaintiffs’ false imprisonment claim against Clerk Chinn-

Gary because Plaintiffs fail to state a claim under any theory of liability.




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                    2.     Lee County Plaintiff

      Mr. Castellanos, individually and on behalf of the Overdetention class, brings a

false imprisonment claim against Clerk Thomas, alleging she “failed to maintain

accurate electronic databases” and that he was unlawfully detained against his will as

a result. [DE 77, ¶¶ 311, 312, 318, 320] But Mr. Castellanos’ detention was lawful.

      Mr. Castellanos was arrested and charged with felony criminal offenses on

February 10, 2023. A magistrate set his initial conditions of release, and he was unable

to meet them. Mr. Castellanos alleges he was falsely imprisoned when he was unable

to schedule an immediate, additional bond determination hearing before a judge

because Clerk Thomas had no record of his case and the case was lost in the new

eCourts system. [DE 77, ¶¶ 206, 209] Mr. Castellanos does not allege that he tried to

pay his secured bond and could not, but rather was unable to afford the bond, and

wanted another judicial official to review it.5 His detention was not unlawful, nor was

he overdetained because the basis for his detention did not end until he met the

conditions of release on February 23, 2023. Accordingly, these allegations do not state

a false imprisonment claim against Clerk Thomas.




5
 When the Superior Court Judge reviewed his pretrial conditions the following Wednesday,
he imposed an electronic monitoring requirement. The monitoring equipment was
unavailable until February 23, 2024, which has nothing to do with eCourts and is wholly
outside of the control of Clerk Thomas.


                                          22



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                    3.     Wake County Plaintiffs

                           a. Plaintiffs Chaplin and McNeil

      Plaintiffs Chaplin and McNeil bring their false imprisonment claim,

individually and on behalf of the Wrongful Arrest class. They allege they were re-

arrested on OFAs resolved in disposed cases because those orders were not

appropriately recalled by the system. [DE 77, ¶¶ 139-159]6 They allege that Clerk

Williams failed to maintain accurate electronic case records or identify and remove

invalid OFAs from Odyssey and eWarrants. Ms. Chaplin specifically alleges that her

rearrest was because “Odyssey did not communicate that [case] resolution to

eWarrants, in contravention of the software’s intended design.” [DE 77, ¶ 144]. Ms.

McNeil alleges that the clerk apologized for failing to recall the outstanding process

from the eWarrants system and does not allege a software defect caused her re-arrest.

[DE 77, ¶ 157] Defendants Chaplin and McNeil fail to state a claim.

      Ms. Chaplin does not allege any act or omission of Clerk Williams or an

employee of his office to have caused her re-arrest. Instead, she blames a software

issue7 and the lack of proper training of a law enforcement officer. [DE 77, ¶ 144] Ms.

Chaplin does not allege that Clerk Williams had any knowledge of the alleged software

issue or had any role in training law enforcement. Ms. Chaplin fails to allege any facts

to support her claim that Clerk Williams or one of his employees intentionally and


6
  No public court records exist of Ms. Chaplin’s case. [Ex. 7, ¶¶ 3-4]
7
  Ms. Chaplin’s assertions on the design of the Odyssey and eWarrants systems could not be
based on actual knowledge and not alleged upon information and belief. This Court should
treat them as unsupported speculation.
                                           23



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deliberately failed to recall an arrest order, either directly or pursuant to a respondeat

superior theory, with the purpose of restraining Ms. Chaplin against her will.

         Ms. McNeil’s claim that an employee of the clerk’s office failed to recall her

OFA, and thus falsely imprisoned her, does not state a claim for false imprisonment.

Ms. McNeil alleges no facts to support that Clerk Williams, or an employee,

intentionally and deliberately failed to recall her OFA with the purpose of unlawfully

restraining her against her will.

         Defendants Chaplin and McNeil at most allege negligence, which cannot satisfy

the intent required for a false imprisonment claim. See e.g., Frazier, 135 N.C. App. at48;

Silver, 2000 WL 33682675.

                           b. Plaintiffs Bradley, Jallal, and Lassiter

         Defendants Bradley, Jallal, and Lassister bring their false imprisonment claim,

individually and on behalf of the Wrongful Arrest class. They allege they were noted

as called and failed when they had appeared in court and were arrested on the resulting

OFAs. [DE 77, ¶¶ 170-195] They further allege that Clerk Williams failed to maintain

accurate electronic case records, to identify and remove invalid warrants from Odyssey

and eWarrants, and to confirm that arrest orders for FTAs were not issued in error.

Mr. Lassiter also alleges that he was arrested on a resolved 2001 warrant issued in a

Johnston County case. [DE 77,¶¶ 196-201] Defendants Bradley,8 Jallal, and Lassiter

fail to state a claim.



8
    Mr. Bradley’s Wake County criminal case no longer exists. Ex.7, ¶¶ 5-6 ().
                                               24



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      Defendants Bradley, Jallal, and Lassiter make no factual allegations that Clerk

Williams took any action to cause them to be noted as called and failed when they

were in fact in court or that he was aware of an employee doing so and ratified this

action. To the contrary, Mr. Bradley specifically alleges that Odyssey “incorrectly

marked his dismissed case as called and failed” [DE 77, ¶ 181], 9 but does not allege

that Clerk Williams had any knowledge of this alleged software issue.

      Mr. Jallal’s allegations are particularly weak. He alleges that he was called and

failed on the day his case was dismissed. The public court records do not reflect that

the District Attorney submitted a dismissal on the date he was noted as called and

failed, instead his case was dismissed several months later. [Ex. 8-A (Case Information

noting disposed 08/11/2023)].

      In sum, Bradley, Jallal, and Lassiter allege no facts to support that Clerk

Williams, or an employee, intentionally and deliberately failed to document their

alleged presence in court for the purpose of unlawfully restraining them against their

will. At most, they allege negligence, which cannot satisfy the intent required for a

false imprisonment claim. See e.g., Frazier v. Murray, 135 N.C. App. 43, 48 (1999);

Silver, 2000 WL 33682675.

      Mr. Lassiter’s allegation that Clerk Williams is responsible for his arrest on the

2001 Johnston County warrant also fails to state a claim. Clerk Williams is the clerk



9
  Mr. Bradley’s assertions on the operation of Odyssey cannot be based upon actual
knowledge and is not alleged upon information and belief. This Court should treat them as
unsupported speculation.
                                           25



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of court for Wake County and has no authority or control over Johnston County case

records. See N.C.G.S. §§ 7A-106, 7A-109, 7A-180.

                           c. Plaintiff Spruill

        Mr. Spruill brings his false imprisonment claim, individually and on behalf of

the Wrongful Arrest class, against Clerk Williams. Mr. Spruill was arrested in Durham

County on a felony warrant on February 11, 2023 [DE 77, ¶ 126], had an initial

appearance in Durham and posted bond in Durham. [Ex. 6-C, p.3 (Return of Service

lists DCSO), p.5 (Release Order issued in by “Durham for Wake" County)] Durham

County is not an eCourts county and was not at the time of the arrest. He alleges that

he was twice detained (though not arrested) on the already served warrant because

“the warrant for his arrest remained as marked ‘active’ in eWarrants.” [DE 77, ¶¶ 126-

138]

        Mr. Spruill alleges Clerk Williams became aware of this warrant issue when

Plaintiff appeared in court on March 8, 2023. [DE 77, ¶ 134, 137] Mr. Spruill

acknowledges that Clerk Williams updated his information in eCourts that day and

does not allege any further issue with his arrest warrant. [DE 77, ¶ 137]

        Mr. Spruill makes no factual allegations relating to any act by Clerk Williams,

or any employee of his office, that caused the arrest warrant to continue to appear

active in eWarrants after it was served by Durham County officials. Mr. Spruill fails

to allege sufficient facts to support his claim that Clerk Williams falsely imprisoned

him by intentionally and deliberately unlawfully restraining him against his will. At



                                           26



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most, Mr. Spruill alleges negligence, which cannot satisfy the intent required for a false

imprisonment claim. See e.g., Frazier, 135 N.C. App. at 48; Silver, 2000 WL 33682675.

                           d. Plaintiff Robertson

       Ms. Robertson alleges she was not notified that her court date was “Reset by

Court.” [DE 77, ¶¶ 164-65] As a result, Ms. Robertson was called and failed and an

OFA issued. [DE 77, ¶¶ 166-167] On June 11, 2023, Ms. Robertson was arrested on

the OFA. [DE 77, ¶¶ 167-168] Ms. Robertson does not know how or why her court

date was reset. [DE 77, ¶164]

       Ms. Robertson also fails to state a claim. Ms. Robertson alleges no facts to

support that Clerk Williams, or an employee, intentionally and deliberately changed

her court date for the purpose of unlawfully restraining her against her will. Ms.

Robertson, at most, alleges negligence, which cannot satisfy the intent required for a

false imprisonment claim. See e.g., Frazier, 135 N.C. App. at 48; Silver, 2000 WL

33682675.

II.    PLAINTIFFS’ INJUNCTIVE RELIEF CLAIM IS BARRED BY THE
       ELEVENTH AMENDMENT AND FAILS TO STATE A CLAIM

       Plaintiffs sue Director Boyce, Mr. Fowler, Clerk Williams, Clerk Thomas, and

Clerk Chinn-Gary, in their official capacities, pursuant to 42 U.S.C. § 1983 for

violations of their Fourth and Fourteenth Amendment rights. [DE 77, ¶¶ 330-331]

Generally, a 42 U.S.C. § 1983 claim requires a plaintiff to prove: (1) deprivation of

rights secured by the Constitution and laws of the United States and (2) that the

deprivation was caused by a person acting under color of state law. West v. Atkins, 487

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U.S. 42, 48 (1988). Plaintiffs’ claim should be dismissed because they do not

sufficiently allege either of these elements and the Eleventh Amendment bars the

claim.

            A. The Eleventh Amendment bars Plaintiffs’ claim.

         The Eleventh Amendment restricts the ability of individuals to sue states in

federal court. Edelman v. Jordan, 415 U.S. 651, 662–63 (1974). This immunity extends

to “arms[s] of the State,” Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274,

280 (1977), including state agencies and state officers acting in their official capacity.

Will v. Michigan Dep't of State Police, 491 U.S. 58, 71 (1989); Gray v. L., 51 F.3d 426, 430

(4th Cir. 1995).

         Plaintiffs bring their claim against Director Boyce and Mr. Fowler, alleging

Monell liability. Under Monell, municipalities and other local government units may be

held liable via § 1983. Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 690

(1978). A plaintiff who seeks to assert a § 1983 claim against a municipality or county

is obligated “to identify a municipal ‘policy’ or ‘custom’ that caused the plaintiff's

injury.” Bd. of Cnty. Comm'rs of Bryan Cnty., Okl. v. Brown, 520 U.S. 397, 403 (1997)

(citing Monell, 436 U.S. at 694). However, “Monell has not been interpreted to extend

§ 1983 liability to policies or customs made by state governments or its agents.” Benton

v. Layton, 628 F. Supp. 3d 661, 666 (E.D. Va. 2022) (emphasis in original) (citing Gray,

51 F.3d at 431 The Eleventh Amendment protects states, state entities, and state

officials from Monell liability, and therefore, Plaintiffs’ claims here fail.



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          B. Plaintiffs’ injunctive relief claim fails to state a claim.

        In Claim Seven, Plaintiffs broadly allege that the Judicial Defendants’

“adoption and implementation of administrative policies in connection with the

ongoing use of the defective eCourts system” “constitute a policy or custom of inaction

and a policy or custom amounting to deliberate indifference to the Fourth and

Fourteenth Amendment rights of Plaintiffs and the Injunctive Relief Class.” [DE 77,

¶ 330-31] Even if Monell applies to state officials these allegations are insufficient to

state a claim.

       “[A] government entity is liable under § 1983 only when the entity itself is a

moving force behind the deprivation.” Kentucky v. Graham, 473 U.S. 159, 166 (1985).

Liability only arises when the offensive acts are taken in furtherance of a governmental

entity’s policy or custom. Burgess v. Goldstein, 997 F.3d 541 (4th Cir. 2021). “[I]t is when

execution of a government’s policy or custom, whether made by its lawmakers or by

those whose edicts or acts may fairly be said to represent official policy, inflicts the

injury that the government as an entity is responsible under § 1983.” Hunter v. Town of

Mocksville, N. Carolina, 897 F.3d 538, 554 (4th Cir. 2018). Plaintiffs also allege, without

any factual enhancement, that the unidentified administrative policies themselves are

unconstitutional. [DE 77, ¶ 333]

       When alleging Monell liability, the alleged unconstitutional policy or practice at

issue must be defined “with precision” to state a claim. Carter v. Morris, 164 F.3d 215,

218 (4th Cir. 1999). An assertion that a policy or practice exists is insufficient. See Gen.



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Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157–58 (1982). Plaintiffs’ burden requires them

to identify the specific practice or policy they are attacking. Cf. Watson v. Fort Worth

Bank & Tr., 487 U.S. 977, 994 (1988) (citing Connecticut v. Teal, 457 U.S. 440 (1982)).

In addition to identifying the specific policy, a plaintiff must also plead facts attributing

the policy or custom to the government and describe how that policy or custom

proximately caused the deprivation of a constitutional right. Alexander v. City of

Greensboro, 762 F. Supp. 2d 764, 781 (M.D.N.C. 2011).

       Plaintiffs’ allegations fall short of this standard merely providing a “formulaic

recitation of the elements of a cause of action. Twombly, 550 U.S. at 555. Plaintiffs

cannot survive a Rule 12(b)(6) motion without identifying a specific policy or custom

that Judicial Defendants have adopted or implemented, let alone one that violates their

constitutional rights. See, e.g., Walker v. Prince George's Cnty., MD, 575 F.3d 426, 431

(4th Cir. 2009) (dismissing complaint that contained threadbare recitals of a policy or

custom but did not specifically identify the policy or custom); Wilson v. Arthur, 2023

U.S. Dist. LEXIS 43114, *10 (E.D. Va Mar. 14, 2023) (“Because [Plaintiff] fails to

identify any policy, much less a specific policy or custom of Defendants [], that

deprived him of his constitutional rights, he fails to state a claim for relief. For this

reason alone, Wilson's claims against Defendants [] should be DISMISSED.”), aff’d

2023 U.S. App. LEXIS 30234 (4th Cir. 2023); Robinson v. Baltimore Cty., 2022 U.S.

Dist. LEXIS 149477, *13 (D. Md. Aug. 18, 2022)); Clemons v. City of Greensboro, No.

1:19CV961, 2021 WL 781537 (M.D.N.C. Mar. 1, 2021) (dismissing 1983 claim



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against City for failure to identify a “‘specific policy with precision’”); Booker v. City of

Lynchburg, No. 6:20-CV-00011, 2020 WL 4209057 (W.D. Va. July 22, 2020) (finding

plaintiff failed to allege a Monell claim where he did “not reference any specific policy

statement or decision of any policymaker in his complaint . . . in more than conclusory

terms”).

       Not only are Plaintiffs’ threadbare allegations insufficient to survive a Rule

12(b)(6) motion, they fail to satisfy Rule 8(a)’s short and plain statement requirement.

While the pleading need not be minutely detailed, it must give a “defendant fair notice

of what plaintiff’s claim is and the grounds upon which it rests.” Cole v. Teamsters Local

Union No. 391, No. 1:08CV499, 2008 U.S. Dist. LEXIS 89346, at *3 (M.D.N.C. Oct.

30, 2008). “This duty of fair notice under Rule 8(a) requires the plaintiff to allege, at a

minimum, the necessary facts and grounds that will support his right to relief.” Id. at

*3-4. The Complaint does not describe any administrative policy or practice of the

NCAOC or the respective Offices of the Wake, Lee, or Mecklenburg County Clerk of

Superior Court, much less describe a policy with specificity. In addition, Plaintiffs do

not demonstrate that Mr. Fowler has the authority to promulgate or enforce policies

or practices because they do not allege any facts whatsoever against him. Indeed,

Plaintiffs’ Complaint is so lacking that Judicial Defendants could not possibly prepare

a defense to it. See Bolding v. Holshouser, 575 F.2d 461, 464 (4th Cir. 1978) (Pleadings

put the defendant on notice as to the nature of the claims against him so that he may

adequately prepare a defense).



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          C. Plaintiffs also fail to sufficiently allege a constitutional deprivation.

       The Fourth and Fourteenth Amendments protect against deprivations of liberty

accomplished without due process of law. Baker v. McCollan, 443 U.S. 137, 145 (1979);

see also Zinermon v. Burch, 494 U.S. 113, 125 (1990) (“The deprivation by state action

of a constitutionally protected interest in life, liberty, or property is not in itself

unconstitutional; what is unconstitutional is the deprivation of such an interest without

due process of law.”) In order to establish that an arrest or detention is unlawful, a

plaintiff must allege a deprivation of liberty accomplished without due process. Id. The

complaint fails to allege facts sufficient to make that determination, or pleads facts that

do not rise to the level of a due process violation.

                         1. Wrongful Arrest Class (Spruill, Chaplin, McNeil,
                            Robertson, Jallal, Bradley, Lassiter Sifford)

       The majority of these allegations relate to orders for arrest that appeared valid

in eWarrants but were allegedly either already served, issued in a now dismissed case,

recalled, or issued in error. Plaintiffs’ allegations, at most, allege negligence, by the

Sheriff Defendants, unidentified employees of the Clerk Defendants, other law

enforcement officers, or issues in the eCourts software. [DE 77, ¶¶ 243, 199, 254, 294,

318] The Supreme Court has held, however, that negligence cannot be the basis for a

claim of constitutional violation, stating that “ . . . to hold that injury caused by such

conduct is a deprivation within the meaning of the Fourteenth Amendment would

trivialize the centuries old principle of due process of law.” Daniels v. Williams, 474

U.S. 327, 332 (1986)..


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      Detention pursuant to a facially valid warrant later determined to be served,

recalled, or issued in error, does not, without more, violate due process, and thus is

not constitutionally unlawful. See Baker, 443 U.S. 137 (noting a three-day detention

over a holiday weekend did not amount to a deprivation of liberty for a detainee who

was arrested in a case of mistaken identity because the warrant was facially valid); see

also Mitchell v. Aluisi, 872 F.2d 577 (4th Cir. 1989) (finding no due process violation

when Plaintiff was arrested and detained on a facially valid warrant that had been

recalled, unbeknownst to the arresting officers); Peacock v. Mayor & City Council of

Baltimore, 199 F. Supp. 2d 306, 309 (D. Md. 2002) (finding a ten-day detention

pursuant to a warrant did not violate the Fourth Amendment because it was facially

valid in the Sherriff's “in house computer system,” even though the warrant was

actually invalid as the suspect had already served the sentence for which the warrant

had been issued). Accordingly, the facts alleged by the Wrongful Arrest class Plaintiffs

do not sufficiently allege a constitutional violation or injury.

                        2. Overdetention Class

                           a.     Castellanos

      Mr. Castellanos’ allegations are internally inconsistent, contrary to the official

court records, and do not allege a constitutional violation. [DE 77, ¶¶ 206, 209] Mr.

Castellanos was afforded due process when he appeared before a magistrate for his

initial appearance and a bond was set and when a judge heard his February 12, 2023,

bond reduction motion. [DE 77, ¶¶ 209-210; Exs. 4-B, 4-F, 5-C, 5-E] His detention

was never unlawful, nor does he allege he was detained beyond the time he should
                                            33



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have been released. Instead, he could not make the bond set by the magistrate so he

wanted it reduced by a different judicial official, and once his bond was unsecured, he

could not meet his electronic monitoring requirement for eight days. [Exs. 4H, 5H;

DE 1, ¶ 85] There is no absolute constitutional right to be released on bail, see e.g.

United States v. Salerno, 481 U.S. 739, 752 (1987), nor is there a constitutional right to

an immediate review of bond conditions by another judicial official. The Complaint

fails to allege any constitutional violation or injury.

                            b.     Fields, Nunez, Hayward

       Plaintiffs Fields, Nunez, and Hayward allege that they were overdetained

because of “Defendants’ adoption and implementation of eCourts, including an

integration defect between Odyssey and eWarrants.” [DE 77, ¶¶ 108, 116, 125]. These

allegations are contrary to the official court records, which document that their cases

were not affected by an integration issue between Odyssey and eWarrants, their release

orders were updated in Odyssey and eWarrants within minutes of entry, and that

magistrates timely processed appearance bonds authorizing their release.

       The Overdetention Class representatives have not alleged any facts that support

a finding that (1) they experienced a constitutional violation and injury requiring

prospective injunctive relief, or (2) that a policy of the Judicial Defendants caused a

constitutional violation.




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III.     THIS COURT SHOULD ABSTAIN TO AVOID INTERFERENCE WITH
         NORTH CAROLINA’S JUDICIAL PROCESSES AND TO PREVENT
         INTRUSION   INTO   COMPLEX    STATE   ADMINISTRATIVE
         PROCESSES

         The extraordinary permanent injunctive relief requested by Plaintiffs implicates

concepts of equity, federalism, and comity. Based on these concepts, this Court should

abstain from exercising jurisdiction.

         Although federal courts have an obligation to exercise jurisdiction when proper,

certain classes of cases justify “the withholding of authorized equitable relief because

of undue interference with state proceedings is ‘the normal thing to do[.]’” New Orleans

Pub. Serv., Inc. v. Council of City of New Orleans, 491 U.S. 350, 359 (1989) (citing Younger

v. Harris, 401 U.S. 37, 45 (1971)). “To avoid friction between federal and state courts,

abstention doctrines prohibit a federal court from deciding a case within its jurisdiction

when a state proceeding is pending or state judicial processes are implicated.” Bishop

v. Funderburk, No. 3:21-CV-679-MOC-DCK, 2022 WL 1446807 (W.D.N.C. May 6,

2022).

         A. O’Shea requires abstention to avoid intrusion in state court processes.

         In O'Shea, the Supreme Court articulated abstention principals applicable here.

O'Shea v. Littleton, 414 U.S. 488 (1974). The O’Shea plaintiffs sought injunctions in

connection with the discriminatory administration of the criminal justice system in an

Illinois county. Id. at 491–92. They challenged criminal prosecutions “brought under

seemingly valid state laws” and sought an order that would likely lead to future

“interruption of state proceedings to adjudicate assertions of noncompliance” by the


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defendants. Id. at 500. The Supreme Court held that “an injunction aimed at

controlling or preventing the occurrence of specific events that might take place” in

future proceedings would lead to the federal interference in state judicial proceedings

prohibited under the abstention principles. Id. The O’Shea abstention doctrine aims to

protect state judicial processes from intrusions by federal courts.

      Plaintiffs’ requested injunctive relief would amount to an ongoing federal audit

of state proceedings, an outcome the Supreme Court rejects. Id. The Supreme Court

explained:

      What [plaintiffs] seek is an injunction aimed at controlling or preventing
      the occurrence of specific events that might take place in the course of
      future state criminal trials. The order the Court of Appeals thought
      should be available if [plaintiffs] proved their allegations would be
      operative only where permissible state prosecutions are pending against
      one or more of the beneficiaries of the injunction. Apparently the order
      would contemplate interruption of state proceedings to adjudicate
      assertions of noncompliance by petitioners. This seems to us nothing less
      than an ongoing federal audit of state criminal proceedings which would
      indirectly accomplish the kind of interference that Younger v. Harris, […]
      and related cases sought to prevent. A federal court should not intervene
      to establish the basis for future intervention that would be so intrusive
      and unworkable.

      O’Shea, 414 U.S. at 500. Here, Plaintiffs seek prospective injunctive relief to

“prevent future harms” that “are still being understood.” [DE 77, ¶ 6, 93] This request

for equitable relief is precisely the kind of “audit” prohibited by Shea.

      B. Burford requires abstention because the requested relief unduly intrudes
         upon complex state administrative processes.

       Plaintiffs also ask this Court to unduly intrude upon North Carolina’s

independence and create and implement state court case management policies for


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North Carolina. Burford abstention considers whether federal adjudication “threatens

to frustrate the purpose of a state’s complex administrative system.” Martin v. Stewart,

499 F.3d 360, 364 (4th Cir. 2007) (citing Burford v. Sun Oil Co., 319 U.S. 315, 331–32

(1943)). Under the Burford doctrine, “[c]ourts must balance the state and federal

interests to determine whether . . . the state interest in uniform regulation outweighs

the federal interest in adjudicating the case at bar.” Martin, 499 F.3d at 364.

Specifically, the Burford doctrine “permits abstention when federal adjudication would

‘unduly intrude’ upon ‘complex state administrative processes’ because either: (1)

‘there are difficult questions of state law . . . whose importance transcends the result in

the case then at bar’; or (2) federal review would disrupt ‘state efforts to establish a

coherent policy with respect to a matter of substantial public concern.’” Id. (quoting

New Orleans Public Service, Inc., 491 U.S. at 361–63).

       North Carolina’s transition to digital case management is exceedingly complex,

requiring the coordination of an array of activities and numerous parties within and

external to the judiciary, taking thousands of hours of ongoing training, legislative and

regulatory efforts, and vast amounts of technological configuration to implement. [DE

77, ¶¶ 55-76, DE 77-1, 77-3] Federal interference here would disrupt “state efforts to

establish a coherent policy with respect to a matter of substantial public concern.” New

Orleans Public Service, Inc., 491 U.S. at 361–63. North Carolina has an important

interest in maintaining the efficient operation of its criminal justice system without

undue federal interference. See Kelly v. Robinson, 479 U.S. 36, 49 (1986) (“[T]he States’



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interest in administering their criminal justice systems free from federal interference is

one of the most powerful of the considerations that should influence a court

considering equitable types of relief.”) Federal court intervention would have an

impermissibly disruptive effect on state policies related to management of North

Carolina courts and implicates important state interests. Abstention is appropriate.

                                    CONCLUSION

      The eCourts project presents a fundamental change for the North Carolina

Judicial Branch, its state and local government partners, and the attorneys and public

it serves. The Branch has continually recalibrated and fine-tuned trainings and

business practices as needed. Nothing in the Plaintiff’s third complaint warrants

federal interference in this process. Instead, the Complaint continues to be based on

unsupported, conclusory allegations of systemic failures based on speculation and

conjecture, which are many times contradicted by the public court records. The

Complaint provides no basis for the alleged violations by Judicial Defendants, or the

extraordinary relief requested. For all these reasons, Judicial Defendants request the

Court grant their Motion to Dismiss.




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 Respectfully submitted this the 9th day of April, 2024.



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                        CERTIFICATE OF WORD COUNT


      I hereby certify that this brief, including the body of the brief, headings and

footnotes, but excluding the caption, signature lines, certificate of service, certificate

of word count and any cover page or index not included, does not exceed the 10,000-

word limit granted by the Court. [DE 85]



                                                /s/ Elizabeth Curran O’Brien
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                                                N.C. Department of Justice




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                            CERTIFICATE OF SERVICE

       This certifies that the undersigned has this day electronically filed the foregoing
JUDICIAL DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
THEIR MOTION TO DISMISS using the CM/ECF system, which will send
notification of such filing to all the counsel of record for the parties who participate in
the CM/ECF system.


       This the 9th day of April, 2024.

                                                 /s/ Elizabeth Curran O’Brien
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                                                 N.C. Department of Justice




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